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               IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

IN RE:                            §     CASE NO. 21-31087
                                  §
MAGELLAN E & P HOLDINGS,          §
INC.,                             §
                                  §
     Debtor.                      §     CHAPTER 7


   TRUSTEE’S APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE
    EMPLOYMENT AND RETENTION OF HARNEY PARTNERS AND KAREN
                NICOLAOU, CPA AS AN EXPERT WITNESS

     THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
     YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
     CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
     AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
     RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
     FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE
     THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY
     THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
     TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
     FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
     HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
     HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
     MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
     THE MOTION AT THE HEARING.
     REPRESENTED      PARTIES    SHOULD     ACT   THROUGH      THEIR
     ATTORNEY.
     HEARING ON THIS MATTER WILL TAKE PLACE ON January 18, 2023,
     AT 1:30 PM. VIA AUDIO AND VIDEO PARTICIPATION. FOR AUDIO,
     PLEASE CALL 832.917.1510 AND ENTER CONFERENCE CODE 174086.
     VIDEO PARTICIPATION IS THROUGH GO TO MEETING AT
     FOLLOWS: HTTPS://WWW.GOTOMEET.ME/JUDGENORMAN




TO THE HONORABLE JEFFREY P. NORMAN, UNITED STATES BANKRUPTCY
JUDGE:
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        Ronald J. Sommers, Chapter 7 Trustee (“Trustee”) of Magellan E & P Holdings, Inc.

(“Magellan”), files this application (“Application”) for the entry of an order, under Sections 327(a)

and 330 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (“Bankruptcy Code”), Rules

2014 and 2016 of the Federal Rules of bankruptcy Procedure (“Bankruptcy Rules”) and Rules

2014-1 and 2016-1 of the Local Bankruptcy Rules of the United States Bankruptcy Court for the

Southern District of Texas (“Local Rules”), authorizing the employment and retention of Harney

Partners and Karen Nicolaou, CPA (“Nicolaou”) as an expert witness. In support of this

Application, the Trustee relies on the Declaration of Karen Nicolaou dated November 22, 2022

and attached here to as Exhibit A and incorporated herein for all purposes. In further support of

this Application, the Trustee respectfully states as follows:

                                 JURISDICTION AND VENUE
        1.       This Court has jurisdiction over this application pursuant to 28 U.S.C. §§ 157

and 1334. Venue of the Trustee’s case in this district is proper pursuant to 28 U.S.C. § 1408. This

matter is a core proceeding under 28 U.S.C. § 157(b)(2). This Court has the constitutional

authority to enter a final order on this application, and if not, the Trustee consents to entry of a

final order.

        2.     On March 30, 2021 Magellan filed a voluntary petition under Chapter 7 of title 11

of the United States Code. Ronald J. Sommers was appointed as Chapter 7 Trustee on this matter.

                                          RELIEF REQUESTED

        3.     The Trustee seeks entry of an order authorizing the Trustee to employ and retain

HMP Advisory Holdings, LLC dba Harney Partners and Karen Nicolaou, CPA, a principal of that

firm, as an accounting expert during this chapter 11 case pursuant to and in accordance with the

engagement agreement, a copy of which is attached as Exhibit B and incorporated herein for all

purposes. A copy of Ms. Nicolaou’s resume is attached hereto as Exhibit C.
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                      SCOPE OF SERVICES AND QUALIFICATIONS

       4.      The Trustee has investigated and brought a number of adversary proceedings for

recovery of preference transfers as well as a fraudulent transfer claim against insider Boniface

Madubunyi. Most of such matters have been settled but some are left to be litigated. It will be

necessary to obtain expert accounting analysis and testimony to prove certain preference and

fraudulent transfer elements and to negate certain affirmative defenses. Harney Partners and Karen

Nicolaou are being engaged to review the documents in this case and other information and provide

opinions relating to the foregoing matters.

       5.      Karen Nicolaou is a Certified Public Accountant licensed to practice in the State of

Texas. She has been practicing for decades and given testimony in a number of proceedings. She

is well-qualified to assess and opine on the elements of preferences and fraudulent transfers and

any assertable defenses thereto. Harney Partners is a firm of professionals with similar

qualifications and experience. Harney Partners has the support personnel and resources to assist

Karen Nicolau in performing the work efficiently and at a lower blended rate.

       6.      Based on the foregoing, the Trustee seeks to employ Harney Partners and Karen

Nicolaou as an expert witness effective as of November 30, 2022, nunc pro tunc.

       7.      The Trustee believes that the services will not duplicate the services that other

professionals will be providing to the Trustee in this case.

                             PROFESSIONAL COMPENSATION
       8.        Section 327(a) of the Bankruptcy Code authorizes the employment of a

professional person on any reasonable terms and conditions of employment, including on an

hourly basis. See 11 U.S.C. § 327(a).

       9.        The Trustee, subject to the provisions of the Bankruptcy Code, the Bankruptcy

Rules, and any applicable orders in this case, and subject to approval via final fee application,
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proposes to employ Harney Partners and Karen Nicolaou. As of the date of this application, Karen

Nicolaou does not hold a claim against the estate. The compensation to be paid to Karen Nicolaou

shall be in accordance with normal billing practices for services rendered and out-of- pocket

expenses incurred on the Trustee’s behalf and pursuant to the engagement letter agreement. Karen

Nicolaou’s hourly rate will be $500.00 per hour. Karen Nicolaou will be the lead professional in

charge of this engagement but may be assisted by other personnel at Harney Partners, whose

hourly rates are below:

                   Karen Nicolaou, Managing Director       $500 / hour
                   Frank Cottrell, Director                $400 / hour
                   Wade Horst, Manager                     $350 / hour

If other personnel of Harney Partners are used, the rates are:

                    President / EVP                   $500 - $600 / hour
                    Managing Director                 $400 - $500 / hour
                    Senior Manager / Director         $300 - $400 / hour
                    Manager                           $250 - $350 / hour
                    Sr. Consultant                    $175 - $300 / hour
                    Support Staff                     $80 - $200 / hour

       10.      As a material part of the consideration for which Harney Partners and Karen

Nicolaou have agreed to provide the services to the Trustee, the Trustee and Karen Nicolaou have

agreed that any liability, if any, for any damages are capped at to the amount of earned fees by

Harney Partners in this bankruptcy case.

       11.      Karen Nicolaou and Harney Partners understand that allowance of fees and

expenses is subject to this Court’s approval.

                                    DISINTERESTEDNESS
       12.      The Trustee seeks retention and employment of Harney Partners and Karen

Nicolaou as an expert accounting witness pursuant to Section 327(a) of the Bankruptcy Code.

Section 327(a) of the Bankruptcy Code empowers a trustee, with the Court’s approval, to employ
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professionals “that do not hold or represent an interest adverse to the estate, and that are

disinterested persons to represent or assist the trustee in carrying out the trustee’s duties under

this title.” 11 U.S.C. § 327(a). Section 101(14) of the Bankruptcy Code defines a “disinterested

person” as: (a) someone that is not a creditor, equity security holder or insider; (b) is not and was

not, within two years before the date of the filing of the petition, a director, officer, or employee

of the debtor; and (c) does not have an interest materially adverse to the interest of the estate or

of any class of creditors or equity security holders, by reason of any direct or indirect relationship

to, connection with, or interest in, the debtor, or for any other reason.

        13.        Likewise, Rule 2014(a) requires that an application for retention include facts

showing the necessity of employment, the name of the firm to be employed, the reasons for

selection, the professional services to be rendered, any proposed arrangement for compensation,

and any connections with the debtor, creditors, any party in interest, their respective attorneys

and accountants, the United States trustee, or any person employed in the office of the United

States trustee.

        14.        To the best of the Trustee’s knowledge and as disclosed in Karen Nicolaou’s

Affidavit, neither Nicolaou nor Harney Partners hold or represent an interest adverse to the

Debtor or the Debtor’s estate with respect to this bankruptcy case.

        15.       Karen Nicolaou and Harney Partners will continue to watch their business relations

to ensure the no conflicts or other disqualifying circumstances exist or arise. If any new relevant

facts or relationships are discovered or arise, Nicolaou and Harney Partners will promptly file a

supplemental declaration, as required by Bankruptcy Rule 2014(a).

        16.        Except as set forth herein, Karen Nicolaou and the other professionals of Harney

Partners (a) do not have any connection with the debtor, any affiliates, their creditors, any other
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party in interest, the United States Trustee or any person employed in the office of the same, or

any judge in the United States Bankruptcy Court for the Southern District of Texas or any person

employed in the office of the same except that professionals at Harney Partners know certain

judges socially; (b) are “disinterested persons,” as that term is defined in the Bankruptcy Code

Section 101(14), as modified by Bankruptcy Code Section 1107(b); and (c) do not hold or represent

any interest adverse to the debtor’s estate.

        17.     Karen Nicolaou and others at Harney Partners have connections through the

Turnaround Management Association, the state Bankruptcy Bar, various conferences, and other

professional and social events and social media to employees of the United State Trustee, judges,

court staff, counsel and other practitioners. None of these connections is known to have given rise

to any conflict, potential conflict, or disinterestedness.

        18.     Neither Harney Partners nor its professionals:

        a.      Are creditors, equity security holders or insiders of the Debtor;

        b.      Are or have been, within two years before the date of the filing of the petition,

 directors, officers, or employees of the Debtor; and

        c.      Have an interest materially adverse to the interest of the estate or of any class of

 creditors or equity security holders, by reason of any direct or indirect relationship to,

 connection with, or interest in, the debtor or for any other reason.

        19.      The Trustee submits that the engagement and retention of Karen Nicolaou on

the terms and conditions set forth herein should be approved because it is necessary and in the

best interest of the Debtor, its estate, and the estate’s creditors.

                                                   NOTICE
        20.      Pursuant to Bankruptcy Local Rule 2014-1 and 9003-1, notice of this

Application will be provided to (i) the Office of the United States Trustee for the Southern District
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of Texas.

                                             PRAYER
       WHEREFORE, the Debtor respectfully requests that this Court grant the relief sought by

this Application, approve the engagement of Harney Partners and Karen Nicolaou as an expert

witness, and grant such other relief as is just and proper.

Dated: December 9, 2022                                Respectfully submitted,
                                                       SPENCE, DESENBERG & LEE, PLLC

                                                              By:       /s/ Ross Spence
                                                              Ross Spence
                                                              State Bar No. 18918400
                                                              ross@sdllaw.com
                                                              Justin W. Safady
                                                              State Bar No. 24098914
                                                              justin@sdllaw.com
                                                              1770 St. James Place, Suite 625
                                                              Houston, Texas 77056
                                                              Telephone: (713) 275-8440
                                                              Facsimile: (713) 275-8445


                                                   ATTORNEYS FOR
                                                   RONALD J. SOMMERS, TRUSTEE



                 BANKRUPTCY RULE 9034 CERTIFICATE OF SERVICE
                        UPON UNITED STATES TRUSTEE

       I hereby certify that, pursuant to Bankruptcy Rule 9034, this instrument was served upon
the United States Trustee via the court’s CM/ECF system and first-class mail, postage prepaid to
515 Rusk Ave., #3516, Houston, TX 77002, on the 7th day of December 2022.

                                                              __/s/ Ross Spence__________________
                                                                 Ross Spence
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                                CERTIFICATE OF SERVICE

       I certify that on the 7th day of December, a true and correct copy of the foregoing document,
was duly served as follows:
       (i)     Electronically to all persons who have entered an appearance in this case by means
               of the Court’s CM/ECF System; and

       (ii)    Via First Class Mail, properly addressed and postage prepaid, upon all parties listed
               on the attached Service List, including the United States Trustee.

                                                          __/s/ Ross Spence__________________
                                                             Ross Spence
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               IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

IN RE:                   §                       CASE NO. 21-31087
                         §
MAGELLAN E & P HOLDINGS, §
INC.,                    §
                         §
      Debtor.            §                       CHAPTER 7                                    A
      KAREN NICOLAOU DECLARATION IN SUPPORT OF TRUSTEE’S
      APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE
      EMPLOYMENT AND RETENTION OF HARNEY PARTNERS AND
           KAREN NICOLAOU, CPA AS AN EXPERT WITNESS

      I, Karen Nicolaou, CPA, declare and state under penalty of perjury pursuant to 28
U.S.C. § 1747 that the following is true and correct to the best of my personal knowledge:

1. I am a Certified Public Accountant (“CPA”) licensed to practice as such in the State of
Texas. I have been a CPA for more than 30 years. I have been active in the restructuring
industry and I have served as financial advisor to distressed companies and parties in
bankruptcy.
2. I am a graduate of The University of Texas at Austin with a Batchelor’s degree in
Accounting.
3. I have worked in the accounting and financial consulting fields since 1981. I have often
been engaged by legal counsel to serve as an expert witness on a broad range of financial
and accounting matters and have testified in Federal and State courts around the country as
well as in arbitrations.
4. I serve as Managing Director of HMP Advisory Holdings, LLC dba Harney Partners.
5. It is my understanding that I am being engaged in this matter to provide expert
accounting opinions related to preference and fraudulent transfer avoidance litigation
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brought by the Trustee against various transferees of the bankruptcy debtor Magellan E&P
Holdings, Inc. We will evaluate the elements of the claims and any affirmative defenses
asserted by the transferees.
6. My hourly billing rate is $500.00 per hour. To keep the average billing rate down, I will
utilize other personnel in Harney Partners, their hourly rates are as follows:
                        Karen Nicolaou, Managing Director           $500 / hour
                        Frank Cottrell, Director                    $400 / hour
                        Wade Horst, Manager                         $350 / hour

7. If other personnel of Harney Partners are used, the rates are:
                        President / EVP              $500 - $600 / hour
                        Managing Director            $400 - $500 / hour
                        Senior Manager / Director    $300 - $400 / hour
                        Manager                      $250 - $350 / hour
                        Sr. Consultant               $175 - $300 / hour
                        Support Staff                $80 - $200 / hour

8. Harney Partners and I understand that allowance of our fees and expenses is subject to
the Court’s approval.
                                  DISINTERESTEDNESS
8. To the best of my knowledge, neither I nor Harney Partners holds or represents any
interest adverse to the debtor or the debtor’s estate.
9. I and Harney Partners will continue to monitor our business relationships to ensure that
no conflicts or other disqualifying circumstances exist or arise. If any new relevant facts or
relationships are discovered or arise, we will promptly file a supplemental declaration, as
required by Bankruptcy Rule 2014(a).
10. Except as set forth herein, I and the other professionals of Harney Partners (a) do not
have any connection with the debtor, any affiliates, their creditors, or any equity owner, or
any other party in interest, the United States Trustee or any person employed in the office
of the same, or any judge in the United States Bankruptcy Court for the Southern District


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of Texas or any person employed in the office of the same except that I and other
professionals at Harney Partners know certain judges socially and I have discussed with
one judge a potential CLE training program; (b) are “disinterested persons,” as that term is
defined in the Bankruptcy Code Section 101(14), as modified by Bankruptcy Code Section
1107(b); and (c) do not hold or represent any interest adverse to the debtor estate.
11. Generally, I and others at Harney Partners have connections through the Turnaround
Management Association, the state Bankruptcy Bar, various conferences, and other
professional and social events and social media to employees of the United State Trustee,
judges, court staff, counsel and other practitioners. None of these connections is known to
have given rise to any conflict, potential conflict, or negation of disinterestedness.
12. I further represent that neither I nor Harney Partners nor its professionals:
       a. Are creditors, equity security holders or insiders of the Debtor;
       b. Are or have been, within two years before the date of the filing of the petition,
       directors, officers, or employees of the Debtor; or
       c. Have an interest materially adverse to the interest of the estate or of any class of
       creditors or equity security holders, by reason of any direct or indirect relationship
       to, connection with, or interest in, the debtor or for any other reason.

       The foregoing constitutes my statement pursuant to Bankruptcy Code sections 327
(e), 329, and 504 and Bankruptcy 2014(a) and 2016(b). Pursuant to 28 U.S.C. § 1746, to
the best of my knowledge, information and belief, and after reasonable inquiry, I declare
under penalty of perjury that the foregoing is true and correct.


                                                  X _________________________
                                                  Karen Nicolaou, CPA
                                                  Managing Director, Harney Partners


Dated: December 8, 2022




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                                                            EXHIBIT
                                                                B
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Contact
                                         Karen Nicolaou
www.linkedin.com/in/karen-               Managing Director, Harney Partners
nicolaou-9078522 (LinkedIn)              Houston
www.atropos-inc.com (Personal)

                                         Summary
Top Skills
Mergers & Acquisitions                   Accomplished professional with long-term record of providing
Due Diligence                            comprehensive financial leadership to commercial enterprises
Finance                                  including distressed situations from start-ups to Fortune 500
                                         companies. Hands-on experience in: (i) business valuation; (ii)
Languages                                claims administration & resolution; (iii) management of accounting
Portuguese (Elementary)                  & administrative staffs; (iv) risk management; (v) treasury; and (vi)
French (Elementary)                      acquisitions & divestitures, both national & international.
English (Native or Bilingual)
German (Elementary)
                                                                                                          EXHIBIT
Spanish (Native or Bilingual)
Italian (Limited Working)                Experience                                                              C
Certifications                           Harney Partners
                                         Managing Director
Certified Public Accountant - State of
                                         September 2018 - Present (3 years 11 months)
Texas
                                         Houston, TX

                                         Turnaround, dispute resolution, interim and crisis management.


                                         The 1940 Air Terminal Museum
                                         President
                                         2014 - Present (8 years)


                                         Bridgepoint Consulting, LLC
                                         Director
                                         May 2017 - August 2018 (1 year 4 months)
                                         Houston, Texas

                                         Responsible for interim and crisis management for Bridgepoint clients
                                         including cash management, negotiations with creditors, and supervision of
                                         consulting team. Clients include companies engaged in: dangerous goods
                                         crating; restaurant supply; memory care; and staffing.


                                         Atropos, Inc.
                                         Principal
                                         October 2001 - April 2017 (15 years 7 months)
                                         Houston, Texas

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                   Responsible for Atropos’ long term financial performance and engagements
                   including valuation, forensic accounting, cash management, out of court
                   restructure and interim crisis management for clients operating in the following
                   industry segments:


                   ENERGY: PDC 2002(b) & (c); Eastern 1996D et al; Drill Bit Industries, Tri-
                   Max Industries, Inc. and Drilling Tool, Inc.; Timec, Inc., Total Safety USA, and
                   Sterling Group Holdings.


                   HEALTHCARE: Careselect Group, Senior Management Associates, Goldstar
                   Emergency Medical Services and Sterling Healthcare.


                   TECHNOLOGY & COMMUNICATION: Luken Communications; LCE Estate
                   Corporation f/k/a Logix Communications Enterprises, Johnson Broadcasting,
                   Inc. and Johnson Broadcasting of Dallas, Inc.; Hewlett Packard f/k/a Compaq
                   Computer Corp; Daisy Tech; Sola Communications.


                   REAL ESTATE: NE40, John Hart Draper Estate, Cyrus II


                   Complete MD Solutions, LLC
                   Chief Financial Officer
                   December 2011 - January 2017 (5 years 2 months)
                   Houston, Tx

                   Responsible for sell-side due diligence for transaction comprising seventy-five
                   percent of corporate ownership of Complete MD Solutions, LLC. Responsible
                   for management of the finance and accounting functions of SWHA f/k/a OGA,
                   PLLC comprising forty physicians, seventeen separate entities, eight locations
                   in Houston and surrounds and generating in excess of $40MM in revenue per
                   annum. Disaggregated and restructured legal entities to mitigate litigation risk
                   and protect practice assets while reducing debt by forty-three percent and
                   opening the financial arm of a de novo management services organization.
                   Selection, design and implementation of accounting information systems.
                   Liaison with financial institutions, attorneys and other professional service
                   providers. Developed equipment leasing facility for care center and ancillary
                   equipment requirements. Supported sales process and integration of nineteen
                   new physician practices into SWHA. Provided financial support for complete
                   restructure of SWHA practices including transitioning benefits and retirement
                   plans; employee divestiture and restructuring of physician compensation.


                   Total Safety US, Inc.
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                   3 years 5 months

                   Vice President (Finance, Corporate Controller, Financial Information
                   Systems)
                   February 2009 - December 2011 (2 years 11 months)
                   Houston, TX

                   Responsible for direct supervision of accounts payable, payroll, treasury,
                   financial reporting and tax departments, as well as international due diligence.
                   Preparation of monthly, quarterly and annual financial reporting in accordance
                   with current GAAP. Valued acquisition intangibles in accordance with GAAP
                   and prepared opening balance sheets for audit and financial reporting
                   purposes . Developed training materials and coordinated training seminars for
                   domestic CSR's. Wrote and presented a seminar on “Finance for non-Financial
                   Managers” for operations and sales managers from the Middle East, Africa
                   and the United Kingdom. Conducted internal audits abroad and supervised
                   customer recovery audits domestically. Liaison for financial auditors, tax
                   advisors and other third party professionals. Responsible for financial systems
                   design on disparate platforms including Hyperion, Mas200 and RentalMan
                   ERP.

                   Consultant
                   August 2008 - February 2009 (7 months)
                   Houston,Texas

                   Interfaced with key customer in resolution of contract billing intrepretation.


                   Johnson Broadcasting & Johnson Broadcasting of Dallas, Inc.
                   Strategic Financial Manager
                   October 2008 - April 2011 (2 years 7 months)
                   Houston, Texas

                   Responsible for management, financial advisory and consulting services
                   relative to operating the companies during the pendency of their bankruptcy
                   proceedings, including: case administration; cash management; preparation of
                   MOR's and other periodic financial reporting; and coordination of auction sale
                   of substantially all of the debtor's assets.


                   Clayton Biltmore / Christus Health
                   Interim Management
                   August 2007 - July 2008 (1 year)
                   Interim controller and internal audit compliance manager for East Texas
                   Regional Medical Center.


                   Promedco Management Company, Inc.
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                   Strategic Financial Manger
                   2001 - 2007 (6 years)
                   Designed and implemented financial reporting mechanism to ensure
                   compliance with court approved cash collateral order serving as liaison
                   between the company, the secured creditors and their financial consultants.
                   Managed human resources, accounting, tax and insurance aspects of the
                   liquidation operation. Participated in court-ordered mediations and negotiations
                   with affiliated physician clinics, the IRS and the Department of Justice.
                   Performed claims review and analysis for court filings. Oversaw all aspects
                   of the dissolution and wind down of approximately thirty-six corporations in a
                   multi-state environment.


                   Physicians Resource Group
                   Controller/Chief Financial Officer
                   July 1998 - December 2005 (7 years 6 months)
                   Managed the accounting, tax and treasury function for a publicly traded
                   physician’s practice management group providing services to 137 practices
                   across the country. Developed the review plan, negotiated the contract for
                   and oversaw the execution of a third party accounting review. Assisted in
                   the selection of independent auditors and managed the audit relationship.
                   Developed retention and extended stay packages for staff and executive
                   management team. Created a comprehensive practice model used as the
                   basis for $160mm asset sale transaction, the calculation of accounting write
                   downs and reserves in accordance with GAAP, and tax planning for the 1998
                   and 1999 calendar years. Negotiated asset sales with eight physician practices
                   and supported the negotiations of operations personnel with the remainder.
                   Assisted in the design of a tax model maximizing the 1998 net operating loss
                   for carry back purposes while minimizing the effect of current sales on 1999
                   taxable income. Managed the negotiation of corporate insurance renewals and
                   the due diligence process for AmSurg $100mm purchase of PRG’s interest in
                   thirty-four ambulatory surgical centers.


                   MISSION CRITICAL SOFTWARE, INC.
                   Controller
                   November 1996 - June 1998 (1 year 8 months)
                   Managed the accounting department for a start-up software development
                   company. Grew the company from nineteen employees operating in five
                   states to ninety-two employees operating in eight states and four countries.
                   Participated in various levels of business startup including: registering
                   the company to do business in multiple states; setting up payroll and

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                   employee agreements for the UK and Canada; outsourcing payroll and
                   corporate procurement services. Prepared tax filings including: state sales
                   tax returns; withholding reports and state unemployment returns; federal
                   year end withholding and unemployment reports, and informational returns.
                   Created closing packages for monthly financial statement preparation;
                   wrote accounting procedures and set policies; managed the tax and audit
                   relationships with big six accounting firm; prepared the first corporate budget.
                   Trained and supported the sales administrative staff.


                   K G Nicolaou, CPA
                   Consulting Accountant
                   1993 - 1996 (3 years)
                   The Gem Agency. Houston, TX. Provided cash flow analysis including NPV
                   calculations. Prepared presentation graphics and set up macros using Word
                   and Excel.
                   Newman Martin &amp; Buchan. London, U. K. Calculated policy adjustments
                   and presented to domestic underwriters for agreement and payment. Provided
                   program reconciliation and problem resolution.
                   San Francisco Reinsurance. Novato, CA. Researched and explained the
                   nature and effect of negative reserves on the reinsurance program. Resolved
                   outstanding issues pertaining to claim payments, policy adjustments, etc.
                   International Reinsurance. Houston, TX. Analyzed staffing requirements and
                   determined minimum resources required to service the program. Trained staff
                   and rewrote computer programming including manual. Provided technical
                   support, research, and analysis services to program participants.
                   Nash Corporation. Denton, TX.
                   Rebuilt accounts receivable files. Debugged accounting programs. Trained
                   front office staff. Provided real estate development cost allocations; accounting
                   system and coding structure set up; tax write up, research and estate planning.


                   Energy Insurance International, Inc.
                   Controller/VP Technical
                   1988 - 1993 (5 years)
                   VP Technical. Designed and implemented a computerized processing system
                   for internationally underwritten reinsurance program. Managed claims handling
                   and processing of approximately US $200 million in recoveries through Lloyds
                   of London and domestic reinsurance markets. Developed presentation formats
                   for executive sales team. Advised and assisted staff of 74 with special projects
                   and problem resolution.


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                   Controller. Managed all accounting and treasury functions for the insurance
                   brokerage firm writing approximately US $300 million in premium per annum.
                   Designed and implemented a three-year forecasting and budgeting plan.
                   Prepared annual stock valuation. Prepared five-year combining statements
                   for business combination accounted for as a pooling of interests. Served on
                   the computer, word processing and re-modeling committees. Directed the
                   specification and implementation of corporate-wide computer network and
                   support applications


                   Darlco
                   Controller
                   1981 - 1988 (7 years)




                   Education
                   The University of Texas at Austin
                   BA, Accounting/Management/Spanish · (1975 - 1979)




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